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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )                    8:08CR476
       vs.                                     )
                                               )                      ORDER
EMMANUEL JACKSON,                              )
                                               )
                      Defendant.               )


       This matter is before the court on the defendant's motion for a 14-day extension of
time in which to file pretrial motions [42]. Upon review of the file, the court finds that a 10-
day extension should be granted. Counsel are informed that no further extensions will be
granted.

       IT IS ORDERED that the Final Unopposed Motion to Extend Time in Which to File
Pretrial Motions [42] is granted, in part, as follows:

       1.    The deadline for filing pretrial motions is extended to March 26, 2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between March 9, 2009 and March 26, 2009, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED 16th day of March, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
